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Tin.
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
RALPH COLEMAN, et al.,
Plaintiffs, No. CIV 8-90-0520 LKK JFM P

vs.
PETE WILSON, et al.,
Defendants. ORDER _ OF REFERENCE

/

On November 17, 1995, the magistrate judge filed findings
and recommendations regarding a proposed order of reference of this
matter to a special master. The findings and recommendations were
served on all parties and contained notice to all parties that any
objections to the findings and recommendations were to be filed
within ten (10) days. On December 1, 1995, defendants filed
objections to the findings and recommendations.

In accordance with the provisions of 28 U.S.C.

§ 636(b) (1) (C) and Local Rule 305, this court has conducted a de

novo review of this case. Upon completion of said review, the

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court finds that one objection raised by defendants warrants
further discussion and amendment of the order proposed by the
magistrate judge.

Defendants object to the proposed order of reference
insofar as it directs the special master to work jointly with
counsel for plaintiffs and counsel for defendants in development of
a remedial plan. Defendants propose that the special master be
directed to work jointly with defendants and experts selected by
the special master.

The principal responsibilities of the special master, as
previously described by this court, are to provide expert advice to
defendants to ensure that their decisions regarding the provision
of mental health care to class members conforms to the requirements
of the federal constitution and to advise the court regarding
assessment of defendants’ compliance with their constitutional
obligations. (Order filed September 13, 1995, at 81-82 n.63.)
Thus, the main work of the special master in developing a remedial
plan will be with the defendants to this litigation, with due
regard for both the constitutional deficiencies identified by the
court and the deference owed to the discretion of prison
administrators in the discharge of their duties.

Nonetheless, this remains an adversarial proceeding where
both sides of the litigation are represented by counsel. All
parties are entitled to the advice of counsel as this litigation

proceeds. Therefore, while the special master will be directed to

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work with defendants, he will also be directed to consult with
counsel for all parties as necessary in the discharge of his
duties .¥

This court has appointed J. Michael Keating, Jr. to serve
as a neutral special master pursuant to Federal Rule of Civil
Procedure 53 and the inherent powers of the court. The purpose of
this appointment is to assist the court in fulfilling its
obligation to fashion a remedy for the constitutional violations in
the delivery of mental health care to members of the plaintiff
class and to monitor implementation of that remedy. The specific
duties and powers of the special master, along with other terms of
his appointment, are enumerated herein.

Good cause appearing therefore, the court hereby makes
the following order of reference:

A. Duties of the Special Master

It is HEREBY ORDERED that the duties of the special
master are and shall be limited to the following:

1. To work with defendants and experts to be selected by
the special master in accordance with paragraph B(7), infra, to
develop a remedial plan that effectively addresses the
constitutional violations set forth in this court’s September 13,

1995 order. In discharging this duty, the special master shall

1/ Counsel will-be entitled to be heard in any proceeding before this
court concerning the adoption of a remedial plan. The court, and the
remedial process, will be greatly assisted if the special master has
consulted with counsel and addressed their concerns, insofar as
possible, prior to the, time the proposed remedial plan is submitted
to the court.

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1 || consult with counsel for plaintiffs and counsel for defendants as

2/| he deems necessary to the discharge of said duty.

3 2. To submit to the court within thirty (30) days of the
4|| date of this order, a proposed timeline for development of said

5] remedial plan. In developing said timeline, the special master

6 shall give due regard to the urgency of the problems to be remedied
“ll and the timelines recommended in the June 6, 1994 findings and

8 || recommendations.

9 3. To make interim reports to the court on the progress
10!/ of the remedial plan.

1 4. To monitor defendants’ implementation of and
compliance with any remedial plan that this court may order. It is
anticipated that the specific monitoring duties of the special

14|/| master shall be developed in further detail once an appropriate

15 || remedial plan is fashioned and ordered by the court.

16 5. To prepare and file with the court periodic reports
7 || assessing defendants’ compliance with such remedial plan as the

18) court may order.

19 Prior to such filing, the special master shall serve,

20 || upon one designated representative of counsel for plaintiffs and

2111 one designated representative of counsel for defendants, a copy of
22 || each compliance report in draft form, and shall afford counsel a

23 || reasonable time within which to submit to the special master

24|| specific, written objections. Upon the request of either party,

25 | submitted in conjunction with the specific written objections, the
26 special master shall, after giving reasonable notice to counsel,

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1|| convene a hearing at which time he shall fully consider the written
2|| objections of the parties. Thereafter, the special master shall

3|| serve and file his compliance report with the court in accordance

4 with Federal Rule of Civil Procedure 53(e) (1).

5 6. To advise the court concerning any modification to:

6] the remedial plan that is requested by a party or that appears

7) necessary to effectuate the purposes of the remedial plan.

8 7. ‘The duties set forth herein may be further specified,

9] expanded or modified only by order of this court.

10 B. Powers of the Special Master

"1 IT IS FURTHER ORDERED that the powers of the special
master are and shall be limited to the following:

13 1. To enter, at any reasonable time, with or without

14 advance notice, any part of any facility at any California

15 || Department of Corrections (CDC) institution except the San Quentin
16 State Prison, the Northern Reception Center at Vacaville and the

7 | california Medical Facility-Main at Vacaville.

18 2. To interview, on a confidential basis or otherwise,
correctional staff, employees, and appointees of the CDC for the

201 purpose of performing his duties under this Order of Reference.

21 | Defendants shall provide suitable facilities and arrange for such
22 || interviews to be conducted under conditions satisfactory to the

23 special master. In addition, the special master may engage in

24 informal conferences with CDC staff, employees, and appointees, and
25 | such persons shall cooperate with the special master and respond to

26 inquiries and requests related to the performance of his duties,

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including requests for the compilation or communication of oral or
written information.

3. To interview, confidentially or otherwise, inmates
housed at any CDC institution, except the San Quentin State Prison,
the Northern Reception Center at Vacaville and the California
Medical Facility-Main at Vacaville, as may be necessary to perform
his duties under this Order of Reference. Such interviews shall be
held at the institution where the inmate is incarcerated.

4. To attend formal institutional meet ings and
proceedings at CDC headquarters or at any CDC institution except
the San Quentin State Prison, the Northern Reception Center at
Vacaville and the California Medical Facility-Main at Vacaville as
may be necessary to perform his duties under this Order of
Reference.

5. To have unlimited access to the records, files and
papers maintained by defendants to the extent that such access is
related to the performance of the special master’s duties under
this Order of Reference. Such access shall include all
departmental, institutional, and inmate records, including but not
limited to, central files, medical records, and mental health
records. The special master may obtain copies of all such relevant
records, files, and papers.

6. To require the posting of notices in any part of any
institution in the class in such number and form as the master may
direct to the extent that such notices are necessary and

appropriate to effectuate an effective remedy.

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7. To retain or employ independent experts, specialists,
assistants, administrative support staff or any other such person
whose advice or assistance the special master deems necessary to
the effective fulfillment of his duties under this Order of
Reference. All such persons, as well as the nature of their
compensation, shall be approved by the court in advance of their
retention or employment.

8. To hold and conduct hearings with respect to
defendants’ implementation and compliance with such remedial plan
as this court may order. To this end, the special master shall
have the power to require the attendance of material witnesses,
including prisoners confined by the CDC, the defendants, and any
employees or appointees of the CDC, and the special master shall .
exercise all other powers described in subsection (c) of Rule 53 of
the Federal Rules of Civil Procedure.

9. The powers described herein may only be modified by
order of this court.

10. In exercising the powers enumerated herein, the

special master may act by himself or through employees of, or

assistants to, the special master approved by the Court. All
actions of such assistant (s) or employee(s) shall be supervised and
coordinated by the special master in order to accomplish the
objectives of this reference.

11. The special master shall not be empowered to direct
defendants or any of their subordinates to take or to refrain from

taking any specific action to achieve compliance. The sole power

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to direct compliance and punish noncompliance remains with the
court. Neither the special master nor anyone in his employ shall
intervene in the administrative management of the CDC or any of the
institutions that are part of the class in the instant action.

C. Compliance Reports

IT IS FURTHER ORDERED that any compliance report of the

special master filed in accordance with paragraph A(5) above shall

be adopted as the findings of fact and conclusions of law of the

court unless, within ten days after being served with the filing of
the report, either side moves to reject or modify the report. The
court will entertain no objection to the report unless an identical
objection was previously submitted to the special master in the
form of a specific written objection in accordance with the
provisions of paragraph A(5) above. The objecting party shall note
each particular finding or recommendation to which objection is
made, shall provide proposed alternative findings or
recommendations, and may request a hearing before the court.
Pursuant to Fed. R. Civ. P. 53(e) (2), the court shall accept the
special master’s findings of fact unless they are clearly
erroneous.

D. Compensation of the Special Master

IT IS FURTHER ORDERED that the special master shall be
compensated at a reasonable hourly rate of one hundred fifty
dollars ($150.00) per hour for services performed in accordance
with this order, except that he shall be compensated at the rate of

seventy-five dollars ($75.00) per hour for travel time. All

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reasonable expenses incurred by the special master in performing—~~
his duties under this order shall be reimbursed as costs of the
mastership. NN

The special master’s fees and expenses shall be borne by
the defendants as part of the costs of this action. Defendants are
hereby ordered to deposit, within thirty (30) days of the date of
this Order, the sum of two hundred fifty thousand dollars
($250,000.00) with the Clerk of the Court as an interim payment of
costs, which amount shall be invested in an interest-bearing
account. All interest earned in the account shall accrue to the
benefit of defendants. The special master shall periodically
submit to the Clerk of the Court, with a copy to defendants’
designated representative, an itemized statement of the special
master’s fees and expenses, which shall be payable on receipt. At
such point that the above sum is substantially drawn down, the
court may order defendants to deposit additional sums with the
Clerk of the Court.

DATED: December Lf , 1995.

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United States District Court
for the
Eastern District of California
' ‘ December 12, 1995

* * CERTIFICATE OF SERVICE * *
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Coleman
Vv.

Reagan

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on December 12, 1995, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope

addressed to the person(s) hereinafter listed, by depositing said

envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office.

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